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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION
                              __________________________


POLYVISION CORPORATION,

               Plaintiff,

v.                                                             Case No. 1:03-CV-476

SMART TECHNOLOGIES INC. and                                    HON. GORDON J. QUIST
SMART TECHNOLOGIES CORPORATION,

            Defendants.
______________________________________/

SMART TECHNOLOGIES, INC.,

               Plaintiff,                                      Consolidated with:

v.                                                             Case No. 1:04-CV-713

POLYVISION CORPORATION and
PARAGRAM SALES COMPANY, INC.

            Defendants.
______________________________________/


                                    CLAIM CONSTRUCTION

       The instant consolidated patent cases concern patents relating to electronic “whiteboard”

technology. In the lead case, PolyVision Corporation v. Smart Technologies Inc., et al., Case No.

1:03-CV-476, the plaintiff, PolyVision Corporation (“PolyVision”), alleges that the defendants,

Smart Technologies Inc. and Smart Technologies Corporation (collectively “Smart”), have infringed

PolyVision’s patent, United States Patent No. 5,838,309 (the “‘309 patent”), by making, using, and

selling electronic whiteboards that infringe claims 6, 10, and 20 of the ‘309 patent. In the later-filed
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case, Smart Technologies Inc. v. PolyVision Corporation, et al., Case No. 1:04-CV-713, Smart

alleges that PolyVision and Defendant Paragram (a seller or distributor of PolyVision’s products),

have infringed Smart’s patents, United States Patent Nos. 5,448,263 (the “‘263" patent), 6,141,000

(the “‘000 patent”), 6,337,681 (the “‘681 patent”), and 6,747,636 (the “‘636 patent”) (collectively

the “Martin patents”), by making, using, and selling touch-sensitive interactive whiteboard products

that infringe at least one claim of each of those patents. PolyVision and Smart deny infringing each

others’ patents, and both allege that the others’ patent(s) is invalid and unenforceable.

       The first step in determining whether a patent has been infringed is for the court to determine,

as a matter of law, the scope and the meaning of the asserted patent claims. See Cybor Corp. v. FAS

Techs., Inc., 138 F.3d 1448, 1454 (Fed. Cir. 1998). In accordance with the Court’s Case

Management Orders, the parties have filed their briefs setting forth their positions regarding the

proper interpretation of the disputed claims of all patents in suit. In addition, the Court heard oral

argument and received additional materials on March 5, 2007. The Court’s construction of the

disputed terms follows.

                                Principles of Claim Construction

       Construction of patent claims is a matter of law. See Cybor Corp. v. FAS Techs., Inc., 138

F.3d 1448, 1454-56 (Fed. Cir. 1998) (en banc). When there is a dispute regarding the meaning of

language used in a claim, the court must ascertain the scope of the exclusive rights claimed in the

patent. Markman v. Westview Instruments, Inc., 52 F.3d 967, 979 (Fed. Cir. 1995) (en banc), aff’d

517 U.S. 370 (1996). Proper claim construction begins with the language of the claims themselves.

See Vitronics Corp. v. Conceptronic, Inc., 90 F.3d 1576, 1582 (Fed. Cir. 1996). “‘In construing

claims, the analytical focus must begin and remain centered on the language of the claims


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themselves, for it is that language that the patentee chose to use to “particularly point[] out and

distinctly claim[] the subject matter which the patentee regards as his invention.” 35 U.S.C. § 112,

¶ 2.’” Brookhill-Wilk 1, LLC v. Intuitive Surgical, Inc., 334 F.3d 1294, 1298 (Fed. Cir. 2003)

(quoting Interactive Gift Express, Inc. v. Compuserve, Inc., 256 F.3d 1323, 1331 (Fed. Cir. 2001)).

The Federal Circuit has reiterated that claim terms should be given their ordinary and customary

meaning as they would be understood by “a person of ordinary skill in the art in question at the time

of the invention, i.e., as of the effective filing date of the patent application.” Phillips v. AWH Corp.,

415 F.3d 1303, 1313 (Fed. Cir. 2005) (en banc). This “starting point is based on the well-settled

understanding that inventors are typically persons skilled in the field of the invention and that patents

are addressed to and intended to be read by others of skill in the pertinent art.” Id. Apart from the

language of the claim, a court must also consider the written description, “because it is relevant not

only to aid in the claim construction analysis, but also to determine if the presumption of ordinary

and customary meaning is rebutted.” Brookhill-Wilk 1, LLC, 334 F.3d at 1298. In fact, the

specification is usually “the single best guide to the meaning of a disputed term.” Vitronics, 90 F.3d

at 1582. The prosecution history may also be relevant because it may “inform the meaning of the

claim language by demonstrating how the inventor understood the invention and whether the

inventor limited the invention in the course of prosecution, making the claim scope narrower than

it would otherwise be.” Phillips, 415 F.3d at 1317.

        A court may also resort to extrinsic evidence, such as dictionaries, treatises, and expert or

inventor testimony. See id. Technical dictionaries may be helpful in providing an understanding “of

particular terminology to those of skill in the art of the invention.” Id. at 1318. Likewise, expert

testimony is useful for explaining the technology at issue and how the particular invention works,


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to ensure that the court’s understanding of the technical aspects of the patent is consistent with that

of a person of ordinary skill in the art, or to establish that a particular claim in the patent or in prior

art has a particular meaning in the pertinent field. See id. However, unlike extrinsic evidence,

intrinsic evidence, i.e., the specification and prosecution history, is created contemporaneously with

the claims and is generally more reliable and thus entitled to greater weight. See id. at 1320-21.

        Although both intrinsic and extrinsic evidence can prove useful in arriving at the correct

construction, “the court’s focus [must] remain[] on understanding how a person of ordinary skill in

the art would understand the claim terms.” Id. at 1323. This means that the court should resist the

temptation to import limitations from the specification into the claims. Id. Thus, “‘[t]he construction

that stays true to the claim language and most naturally aligns with the patent’s description of the

invention will be, in the end, the correct construction.’” Id. at 1316 (quoting Renishaw PLC v.

Marposs Societa’ per Azioni, 158 F.3d 1243, 1250 (Fed. Cir. 1995)).

                                                Analysis

I.      The ‘309 Patent

        In the lead case, PolyVision alleges that Smart has infringed the ‘309 patent, entitled “Self-

Tensioning Membrane Touch Screen.” In particular, PolyVision alleges that Smart whiteboard

Model Nos. 540, 560, and 580 infringe claims 6, 10, and 20 of the ‘309 patent. The stated purpose

of the ‘309 patent is to provide a self-tensioning membrane digitizer (whiteboard) that automatically

maintains tension in the membrane to keep it spaced from the underlying substrate regardless of

expansion or contraction due to age or fatigue or changes in humidity or temperature. (Col. 2, ll. 1-

8.) As noted above, claims 6, 10, and 20 of the 309 patent are in dispute. Claims 6 and 10 depend

upon claim 1, and claim 20 depends upon claim15. The following claim terms are in contention.


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        A.       “pretensioned” (claims 6 and 10)

             PolyVision’s proposed construction           Smart’s proposed construction
             Having tension, tautness, or stress in       Flexible member is pushed in a
             the installed condition.                     direction to impart or store spring
                                                          tension in that member before the
                                                          attachment of the membrane to the
                                                          flexible member.

        This term appears in the phrase “a peripheral flexible member . . . pretensioned counter to

the tension of said tensioned membrane.” PolyVision contends that pretensioned refers only to the

condition or state of the flexible member having tension in its installed configuration, while Smart

contends that this term refers to the process of applying spring tension to the flexible member.

        PolyVision’s primary support for its proposed construction is a definition from a mechanical

engineering dictionary, which defines pretension as: “The amount of tensile load applied to a bolt

or tie-rod when it is installed, but not subjected to its working environment.” Dictionary of

Mechanical Engineering (4th ed. 1996). PolyVision contends that this definition shows that

engineers use the term “pretensioned” to refer to a member that is stressed in its installed condition.

 It further argues that this definition comports with the usage of the term in the written description,

which states:

        In this pretensioned condition, any expansion or contraction will be accommodated
        by a deflection outwardly or inwardly, respectively, of section 46 and its counterpart
        sections so that an opposing or counter tension or force, arrow 30, is always being
        applied to membrane 24 to keep it taut and away from surface 18.

(Col. 3, ll. 57-62.)

        The primary difficulty with PolyVision’s proposed construction is that it is based upon a

technical dictionary definition that really has no relevance to the subject matter of the invention at



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issue. The definition refers to a bolt or a tie-rod, neither of which is a subject of the patent, and the

definition in fact refers to a measurement of tensile strength, which is not addressed in the patent.

More importantly, although Phillips acknowledges that such extrinsic evidence has its place in

construing a patent, it counsels that it is less reliable for a number of reasons but, primarily, because

it “is not part of the patent and does not have the specification’s virtue of being created at the time

of patent prosecution for the purpose of explaining the patent’s scope and meaning.” Phillips, 415

F.3d at 1318.

        Turning to the written description, the Court notes that the description and drawings disclose

a substantial basis for concluding that the inventor intended the term “pretension” to connote

imparting spring tension to the flexible member. The summary of the invention discloses the focus

of the invention as follows:

                The invention results from the realization that a truly self-tensioning
        membrane digitizer can be effected by attaching the membrane in a support structure
        that includes flexible walls which are pretensioned to deflect and maintain tension
        on the membrane to keep it spaced from the substrate despite expansion or
        contraction of the membrane. . . .

                ....

                In a preferred embodiment the flexible sections may be pretensioned outward
        relative to the frame or they may be pretensioned inward relative to the frame. . . .

(Col. 2, ll. 9-14, 26-28 (italics added).) According to this language, then, to accomplish the purpose

of the invention, some force or tension must be applied to the flexible walls themselves in order to

allow the opposing flexible walls to maintain the tension on the membrane. This is the essence of

“self-tensioning.”




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        Fig. 1, set forth below, illustrates this application where the flexible walls are “pretensioned”

or pushed inward relative to the frame.




The specification explains that “[f]lexible wall 22 is pretensioned by pushing inwardly as indicated

by arrow 29 toward base 14 and toward digitizer area 28 before membrane 24 is attached to wall 22

at 26.” (Col. 3, ll. 32-35.) It further explains that flexible wall 22 is in the phantom position

indicated by the dotted line and then, after being pushed, assumes the position shown in the full line

22. (Col. 3, ll. 35-38.) In that position, “flexible wall 22 applies a counter tensioning force as

indicated by arrow 30 which pulls membrane 24 taut across digitizer area 28 over pacer 20.” (Col.

3, ll. 38-40.)

        Fig. 5, shown below, shows a different construction in which the flexible sections are

pretensioned by applying an outward force.




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The flexible wall 22a is pushed outwardly in the direction shown by arrow 90, and the membrane

is attached to the flexible wall. (Col. 4, ll. 24-27.) “After the attachment is complete at 26a, the now

pretensioned wall 22a tends to return to its initial position, exerting a tensioning force 92 which

stretches membrane 24 tautly over spacers 20a establishing a separation between membrane 24 and

conductive surface 18a.” (Col. 4, ll. 24-29 (emphasis added).) Similarly, Fig. 9 shows an

embodiment of the invention using compressible foam members in place of flexible walls. Column

4, lines 54-67, which describe that particular embodiment, states that “[p]eripheral compressible

member 22c is pretensioned by compressing it inwardly toward substrate 16c in the direction of

arrow 29c.” (emphasis added.) It also notes that after compression, the membrane is attached to the

bottom of the substrate and the compression member is then released, pulling the membrane taut

across the digitizer area. (Col. 4, l. 67 - Col. 5, ll. 1-4.)

        Consistent with this construction, Fig. 4 shows a “jig” or a box “which can be used to

pretension” the flexible walls “while the membrane is being attached.” (Col. 2, ll. 60-62.) The

specification explains that the digitizer is placed into the jig, forcing the peripheral flexible wall 22

inwardly while membrane 24 is attached to flexible wall 22. (Col. 2, ll. 65-67 - Col. 4, ll. 1-2.)

        Based upon the foregoing, the Court concludes that Smart’s proposed construction is

consistent with the patent and accurately describes the term “pretension” as used by the inventor.

(Col. 3, ll. 48-52 (stating that “[t]he pretensioning of flexible wall 22 is done simply by applying a

lateral force 29, FIG. 3A, to each of the flexible wall sections, for example section 46, while

membrane 24 is being attached at 26 to flexible section 46").)

        PolyVision contends that Smart’s construction must be rejected because it improperly reads

manufacturing limitations into a product claim. PolyVision cites AFG Industries, Inc. v. Cardinal


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IG Co., 375 F.3d 1367 (Fed. Cir. 2004), and 3M Innovative Properties Co. v. Avery Dennison Corp.,

350 F.3d 1365 (Fed. Cir. 2003), as support for this argument.            However, those cases are

distinguishable from the instant case because the products involved in those cases – multiple layers

in a glass product in AFG Industries and “multiple embossed patterns” in connection with pressure

sensitive adhesives in 3M Properties Co. – were not tied to any specific manufacturing process. In

contrast, regardless of whether the “jig” shown in Fig. 4 or some other method is used, the flexible

sections must be pretensioned by exerting an inward or outward force, as the case may be, in order

to obtain the self-tensioning feature of the invention. PolyVision further contends that Smart’s

proposed construction, which states a process involving pushing the flexible walls inward or outward

and then attaching the membrane, is at odds with the plain language of the patent that “[t]he flexible

sections are attached to the membrane and pretensioned counter to the tension of the tensioned

membrane for deflecting to maintain tension on the membrane to sustain the spaced relationship of

the membrane relative to the structure.” (Col 2, ll. 21-25.) The Court disagrees. Rather than stating

that the membrane may first be attached to the flexible sections before they are “pretensioned,” the

quoted language merely describes the purpose of the flexible sections in the invention as: (1)

attached to the membrane; and (2) pretensioned. Finally, the Court rejects PolyVision’s argument

that limiting the term “pretension” to the process described in the preferred embodiment is improper.

The inventors chose to act as their own lexicographers in defining the term “pretension” and the

preferred embodiment, as well as the remainder of the specification, show the precise meaning of

this term. See Phillips, 415 F.3d at 1316.




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        B.       “self-tensioning membrane digitizer” (claims 6, 10, and 20)

             PolyVision’s proposed construction        Smart’s proposed construction


             No construction required. Alt.: An        A digitizer having a membrane
             apparatus that converts a signal into     attached in a support structure that
             digital form (or digitizer) where the     includes flexible walls which are
             apparatus maintains a thin sheet (or      pretensioned to deflect and maintain
             membrane) in tension.                     tension on the membrane to keep it
                                                       spaced from an underlying substrate
                                                       despite expansion or contraction.

        This phrase is the preamble. PolyVision contends that no construction is required because

 the phrase is self-explanatory and because it would be improper to construe the preamble as a

 limitation in these circumstances. Whether the preamble should be considered a limitation on the

 claim language depends on its nature. A preamble can be considered a claim limitation when it is

 “‘necessary to give life, meaning and vitality’ to the claim.” Pitney Bowes, Inc. v. Hewlett-Packard

 Co. , 182 F.3d 1298, 1305 (Fed. Cir. 1999). In other words, if the preamble recites structure that is

 important to the invention or necessary to give the claim meaning, it will be regarded as limiting.

 See Bicon, Inc. v. Straumann Co., 441 F.3d 945, 952 (Fed. Cir. 2006). On the other hand, the

 preamble is not limiting where the “patentee defines a structurally complete invention in the claim

 body and uses the preamble only to state a purpose or intended use for the invention.” Rowe v. Dror

 , 112 F.3d 473, 478 (Fed. Cir. 1997). In the latter circumstance, “the preamble is of no significance

 to claim construction because it cannot be said to constitute or explain a claim limitation.” Pitney

 Bowes, Inc., 182 F.3d at 1305. Smart contends that construction is required because the self-

 tensioning aspect is the primary focus of the invention and that term was coined by the inventors,

 thus, there is no accepted meaning.



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          In this case the claim language discloses all of the structure necessary for the invention. The

 preamble does not provide further structure but is merely descriptive of the purpose of the invention

 – a digitizer that has a self-tensioning membrane. While it may arguably be desirable to further

 define “self-tensioning,” as noted above, the pretensioning aspect of the invention in the claim

 language provides sufficient context to the meaning of “self-tensioning.” Thus no construction is

 necessary.

          C.       “support structure” (claims 6, 10, and 20)

               PolyVision’s proposed construction             Smart’s proposed construction
               No construction required. Alt.: A              Structure used to support the
               structure serving as a support or              claimed membrane and the claimed
               foundation.                                    conductive surface underlying the
                                                              membrane.

          PolyVision contends that this term is basic and needs no construction. Smart, on the other

 hand, contends that the term is unclear because its meaning depends upon the context in which it is

 used. Smart notes, for example, that the support structure “includes flexible walls which are

 pretensioned to deflect and maintain tension on the membrane,” (Col. 2, ll. 11-13), “may include a

 base and a support substrate mounted on the inside of the base,” (Col. 2, ll. 30-32), and “may include

 a base and the spacer means may be mounted on the outside of the base.” (Col 2, ll. 34-36.) In

 addition, Smart notes, claims 1-14 of the patent state that the “support structure” includes “spacer

 means,” but claims 15-25 contain no such requirement.1 While the term “support structure” seems

 relatively clear, Smart’s construction provides further clarity by emphasizing that it is the part of the

 invention that supports the membrane and the underlying conductive surface, regardless of whether

          1
           Smart is correct on this assertion only in part, because claims 20 and 21 specify spacer means mounted on the
 support substrate or base, which are part of the support structure.

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 the embodiment includes a support substrate or spacer means. The Court will thus adopt this

 construction, although it will omit Smart’s references to the membrane and the conductive surface

 as “claimed” because it is clear that those elements are set forth in the claims, and adding the word

 “claimed” would not serve any purpose.

        D.       “tensioned” (claims 6 and 10)

        Although the parties initially identified this as a disputed term, it appears that they have

 agreed upon Smart’s definition as “stretched tautly.”

        E.       “spacer means” (claims 6, 10, and 20)

             PolyVision’s proposed construction      Smart’s proposed construction


             An element that maintains a space       A suitable insulator such as plastic
             between the membrane and the            in the form of a peripheral spacer
             conductive element.                     rail establishing a separation
                                                     between the membrane and the
                                                     underlying conductive surface.


        Initially, the Court must determine whether this term is a means-plus-function limitation

 under 35 U.S.C. § 112 ¶ 6, which provides: “An element in a claim for a combination may be

 expressed as a means or step for performing a specified function without the recital of structure,

 material, or acts in support thereof, and such claim shall be construed to cover the corresponding

 structure, material, or acts described in the specification and equivalents thereof.” This type of

 “claiming applies only to purely functional limitations that do not provide the structure that performs

 the recited function.” Phillips, 415 F.2d at 1311. A claim limitation that actually uses the word

 “means” gives rise to a rebuttable presumption that § 112, ¶ 6 applies. Personalized Media

 Commc’n, LLC v. Int’l Trade Comm’n, 161 F.3d 696, 703-04 (Fed. Cir. 1998). The presumption

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 is rebutted where the claim, in addition to the functional language, recites structure sufficient to

 perform the claimed function in its entirety. See Altiris, Inc. v. Symantec Corp., 318 F.3d 1363, 1375

 (Fed. Cir. 2003). PolyVision contends that although the limitation invokes a § 112, ¶ 6 claim

 element, it identifies sufficient structure to rebut the presumption. This argument fails because

 “spacer” or “spacer means” is not definite structure. See Unidynamics Corp. v. Automatic Products

 International, Ltd., 157 F.3d 1311, 1319 (Fed. Cir. 1998) (holding that the recitation of “spring

 means” did not disclose sufficient structure to take the claim element out of the ambit of § 112, ¶ 6).2

 The claim is thus limited to the structure disclosed in the specification for performing the “spacing”

 function and its equivalents.

          The specification identifies the structure as “peripheral rail 20,” that is “a suitable insulator

 such as plastic.” (Col. 3, ll 20-23; Col. 3, ll. 46-47 (stating that “[s]ubstrate 16 rests on base14, and

 supports peripheral spacer rail 20").) Smart’s proposed construction corresponds to the structure

 disclosed in the patent, and the Court will adopt it, with an amendment to include “structural

 equivalents thereof.”




          2
            The Court further notes that no evidence, whether intrinsic or extrinsic, indicates that the term “spacer” has
 an established meaning in the art for performing a specified function. See Watts v. XL Sys., Inc., 232 F.3d 877, 80-81
 (Fed. Cir. 2000) (“As an aid in determining whether sufficient structure is in fact recited by a term used in a claim
 limitation, this court has inquired into whether the term, as the name for structure, has a reasonably well understood
 meaning in the art.”) (internal quotations omitted).

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          F.       “a peripheral flexible member extending from said support structure and
                   including at least two independently flexible sections attached to said
                   membrane” (claims 6 and 10)

               PolyVision’s proposed construction              Smart’s proposed construction
               No construction required. Alt.:                 peripheral flexible member:
               peripheral flexible member: A                   A peripheral flexible wall, a
               structure or element (consisting of             peripheral compressible member of
               one or more components) that                    foam, silicone, or rubber, or a
               extends from the support structure at           compressible tube, which includes at
               the edge (periphery) of the support             least two flexible sections that are
               structure and is flexible in at least           flexible independently of each
               some part.                                      other.3

               including at least two                          including at least two
               independently flexible sections                 independently flexible sections
               attached to said membrane:                      attached to said membrane:
               Having a minimum of two flexible                Independent, separate, or distinct
               portions, where each portion can be             sections of the claimed “peripheral
               separately flexed, and the flexible             flexible member”; having at least
               portions are attached to the                    two component parts that are
               membrane.                                       flexible independently with respect
                                                               to each other and both of which are
                                                               attached to the membrane.


          The claim language itself, as well the written description, shows that the term “peripheral

 flexible member” refers to the part of the invention that extends from the edge of the support

 structure and is attached to the membrane and “pretensioned,” such as the flexible wall 22 shown

 in Fig. 1. Smart contends that the prosecution history provides the definition of “peripheral flexible

 member” as a peripheral flexible wall, a peripheral compressible member of foam, silicone, or


          3
            The Court notes that Smart’s construction has changed over time, although this proposed construction is taken
 from Smart’s materials presented at the March 7, 2007, hearing. For example, a prior proposed construction required
 that the peripheral flexible member “be a unitary flexible member extending from the periphery of the support structure,”
 while the present proposed construction does not include such a condition. Smart continued to advance the unitary
 requirement in its claim construction brief by asserting the Claim 1 does not read on a particular embodiment, but it has
 apparently abandoned that position.

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 rubber, or a compressible tube. (Prosecution History Appendix at PLV 00472.) While the

 prosecution history does provide some support for this argument, it would be improper to limit the

 claim term to those embodiments because the inventors did not limit the peripheral flexible member

 to those embodiments. Rather, they stated that “the peripheral flexible member in any form prevents

 sagging of the flexible membrane” and that “[t]he flexible member could be,” but did not have to

 be, one of those embodiments. Thus, the prosecution history does not constitute a clear disavowal,

 as is required to limit the scope of the claim to the disclosed embodiments. See NTP, Inc. v.

 Research In Motion, Ltd., 392 F.3d 1336, 1361-62 (Fed. Cir. 2004).

        To the extent that Smart continues to assert that the peripheral flexible member must be a

 “unitary” or one-piece component, such as that shown in Fig. 1, the Court rejects the assertion. The

 prosecution history, upon which Smart relies, states that the flexible member may be a compressible

 tube. Fig. 10, which illustrates that embodiment, shows that the compressible tube member would

 not be unitary. This conclusion is also supported by the specification, which states that “[t]he base

 and the flexible sections may be integral,” (Col. 2, l. 40), and shows an embodiment in Fig. 7 where

 the peripheral wall consists of separate parts and “is not integral with [the] base.” (Col. 4, l. 42.)

        The Court concludes that PolyVision’s construction is more accurate, although as Smart

 notes, there is no support in the patent for the phrase “flexible in at least some part.” All of the

 intrinsic evidence shows that the peripheral member must be “flexible.” Accordingly, the Court will

 adopt the following construction for “peripheral flexible member”: A flexible structure or element

 (consisting of one or more components) that extends from the edge of the support structure which

 includes at least two independently flexible sections.




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        With regard to the phrase “independently flexible sections,” the specification shows that it

 merely means separate sections or parts of the peripheral flexible member that may be pushed,

 moved, or flexed independently of each other. (Col. 2, ll. 20-21; Col. 3, ll. 31-34; Figs. 1, 2, 5.)

                G.      “base” (claims 6, 10, and 20)

            PolyVision’s proposed construction       Smart’s proposed construction
            No construction required. Alt.: The      A rigid foundation upon which the
            bottom part or layer of a structure.     support substrate is mounted.


        PolyVision contends that this term needs no construction. It offers a construction based upon

 the dictionary definition of “base” in the event that construction is required. PolyVision notes that

 in the preferred embodiments the base as shown is numbered “14" and is the bottom part of the

 structure. Smart contends that the term must be construed because it serves a particular function in

 the invention. That is, Smart notes, the base must be rigid because all of the embodiments show the

 base as supporting the tension between the membrane and the flexible members. As support, Smart

 cites Fig. 5, which shows the invention with an inverted base and identifies the base as number “14a”

 without a support substrate. Smart points out, correctly, that it is obvious from this example that the

 base would need to be rigid, because if it were not, the membrane would not remain tensioned.

 Smart also notes that in describing the embodiment that includes a support substrate, the

 specification states that “[b]ase 14 may be metal or plastic” and that the “substrate spacer 16 may

 be formed of polystyrene or polyurethane foam, or glass,” (Col. 3, ll. 26-29), thus indicating that the

 base must provide the support for the tension of the membrane and the peripheral flexible member.

 PolyVision counters that Smart’s argument is refuted by the specification, which shows that the

 “base” and “flexible wall” are part of the same one-piece element.

        The Court agrees with PolyVision that it would be improper to read the term “rigid” into the

 claim. While it is certainly true that in the embodiment shown in Fig. 5, the base must be rigid in


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 order to provide support to maintain pressure on the membrane, the same is not necessarily true in

 the embodiment shown in Fig. 1. As indicated above, the specification states that the substrate

 spacer may be formed of polystyrene or polyurethane foam, or glass. While the Court is no expert

 in the area, it can see no reason why a very dense foam spacer or even a glass spacer could not

 provide the rigidity needed to keep the membrane tensioned, even if the base is not rigid.

 Accordingly, the Court concludes that no construction is required.

         H.       “support substrate” (claims 6, 10, and 20)

         The Court will adopt Smart’s proposed construction of this term in light of PolyVision’s

 counsel’s agreement to the construction at the Markman hearing.

         I.       “said base and flexible sections are integral” (claim 10)

              PolyVision’s proposed construction      Smart’s proposed construction
              The base and flexible section           The base and flexible sections are
              components form a complete unit.        formed as a single piece.


         The dispute here is over the meaning of the term “integral.” PolyVision’s proposed

 construction is based upon a dictionary definition of the term “integral,” and a similar definition from

 Vanguard Products Corp. v. Parker Hannifin Corp., 234 F.3d 1370 (Fed. Cir. 2000). Smart

 contends that the specification, drawings, and prosecution history inform the proper meaning, which

 is a single piece. Smart notes that the specification distinguishes “integral” from “separate”: “Base

 14 may be . . . separate or integrally formed with peripheral flexible wall 22.” (Col. 3, ll. 27-28.)

 Smart also points out that the drawings differentiate between the base and flexible sections formed

 as a single piece (integral) and formed as separate pieces joined together. Fig. 3B depicts a digitizer

 in which the base and flexible sections are formed as a single piece, while Fig. 7 shows the base and

 flexible sections formed of separate pieces joined together. The specification recognizes this




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 distinction when it states that “digitizer 10b, FIG. 7, is constructed similarly to digitizer 10a with the

 exception that peripheral wall 22b is not integral with base 14b.” (Col. 4, ll. 40-44.)

         The Court finds that Smart’s proposed construction, which is based upon the specification,

 is consistent with Phillips and accurately reflects the inventors’ intent to limit the term “integral” to

 a one-piece construction of the base and flexible member. The Court will thus adopt that

 construction.

         J.       “flexible member” (claim 20)

              PolyVision’s proposed construction       Smart’s proposed construction
              No construction required. Alt.: A        A flexible wall, a compressible
              flexible part (consisting of one or      member of foam, silicone or rubber,
              more components) of an apparatus.        or a compressible tube.


         This term is similar to “peripheral flexible member,” which the Court construed above. For

 the reasons stated above, the Court rejects Smart’s proposed construction. Consistent with the above

 construction, the Court construes the term as: A flexible structure or element (consisting of one or

 more components) that is attached to the support structure.

         K.       “biased to tension said membrane” (claim 20)

              PolyVision’s proposed construction       Smart’s proposed construction
              No construction required. Alt.:          The flexible member is pushed in a
              Influenced by or exerting a force so     direction to impart or store spring
              as to cause tension in said              tension in that member before the
              membrane.                                attachment of the membrane to the
                                                       flexible member.

         As both parties acknowledge, the word “biased” does not appear in the specification or

 prosecution history of the ‘309 patent. Based upon its review of the intrinsic evidence, the Court

 concludes that the inventors intended this term to have the same meaning as “pretensioned.”


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 Therefore, the Court will adopt Smart’s proposed construction of the term “biased”, which is the

 same as “pretensioned.”

 II.    The Martin Patents

        In the consolidated case, Smart alleges that PolyVision has infringed the ‘263 patent, entitled

 “Interactive Display System,” the ‘000 patent, entitled “Projection Display System with Touch

 Sensing on-Screen, Computer Assisted Alignment Correction and Network Conferencing,” the ‘681

 patent, entitled “Projection Display System with Pressure Sensing at Screen, and Computer Assisted

 Alignment Implemented by Applying Pressure at Displayed Calibration Marks,” and the 636 patent,

 entitled “Projection Display and System with Pressure Sensing at Screen, and Computer Assisted

 Alignment Implemented by Applying Pressure at Displayed Calibration Marks.” Smart asserts

 claims 1 and 4 of the ‘263 patent; claims 27 and 28 of the ‘000 patent; claims 17, 21, 38, 41, 57, 58,

 71, and 72 of the ‘681 patent; and claims 1-17 of the ‘636 patent.

        A.       The ‘263 patent

                 1.     “means for receiving said control signals and in response generating and
                        projecting graphic images onto said touch sensitive display screen at said
                        locations” (claims 1 and 4)

             PolyVision’s proposed construction       Smart’s proposed construction
             Controller, and structural               Computer structure/steps (i.e., a
             equivalents thereof, for receiving       computer programmed with
             information as to where pressure         appropriate software) that receives
             had been applied on a touch-             control signals and generates
             sensitive screen, and in response        graphic images in response to the
             generating a control signal to cause     control signals, and a projector that
             the projector means to project a         projects the graphic images onto a
             graphic image on the display screen      touch-sensitive display screen, and
             where the pressure had been applied.     “structural” equivalents thereof.




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         Claim 1 claims “[a]n interactive display system.” The parties agree that this disputed phrase

 is a means-plus-function limitation under § 112, ¶ 6, and the Court must therefore look to the

 specification to determine the structure that corresponds to the function. Although the parties agree

 on the function performed by this limitation, they disagree on the structure. The parties further agree

 that the structure identified to accomplish the stated function is, at least in part, the “electronic touch

 screen controller 3.” (Col. 3, ll. 37-38; Fig. 1.) The dispute concerns whether the structure is limited

 to the electronic touch screen controller, as PolyVision contends, or whether it includes the software

 that would be necessary to perform the identified function, as Smart contends. As support for its

 argument, PolyVision notes that the specification, at several points, shows that the structure is the

 controller identified as item 3. (Col. 4, ll. 45-46; Col. 5, ll. 51-55; Fig. 1.) Smart, on the other hand,

 cites the program flow charts set forth in Figs. 20-22 of the patent, as well as various cases, to

 support its assertion that the structure includes software that would perform the claimed function.

         The Court concludes that the structure to perform the function is the controller described and

 shown in the specification, (Col. 3, ll. 36-39), and not software that would perform the function. It

 is undisputed that the specification says nothing about software or an algorithm for performing the

 function of receiving signals from the touch-sensitive screen and projecting graphic images onto the

 touch sensitive screen. The flow charts in Figs. 20-22 do not describe a means for performing this

 function. While it is true, as PolyVision agrees, that software could perform this function, the fact

 remains that there is no mention of software. The cases Smart cites do not support its argument and

 are distinguishable. For example, in WMS Gaming, Inc. v. International Game Technology, 184 F.3d

 1339 (Fed. Cir. 1999), the court held that the structure for assigning numbers to certain angular

 positions of a reel was the computer programmed to perform the disclosed algorithm. No such

 algorithm is disclosed in this case. Similarly, in Eolas Technologies Inc. v. Microsoft Corp., 399

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 F.3d 1325 (Fed. Cir. 2005), the court was confronted with the issue of whether software code

 claimed in a patent qualified as a “patented invention” for purposes of 35 U.S.C. § 271(f). See id.

 at 1338-39. As the court noted, the patent claimed software code in conjunction with a physical

 structure, both of which would qualify as a part of the claimed invention for purposes of § 271(f).

 See id. at 1339. The difference in this case, of course, is that no software code is claimed in the ‘263

 patent. Accordingly, the Court concludes that PolyVision’s proposed construction is the proper

 construction.

                   2.        “in a multi-tasking environment”4

              PolyVision’s proposed definition                 Smart’s proposed definition
              Computer is capable of performing                A computer performs or appears to
              more than one task at the same time.             perform more than one task at a
                                                               time.

          This term is part of the phrase “a computer for executing one or more applications program

 in a multi-tasking environment.” (Col. 15, ll. 32-33.) The Court concludes that the term requires

 no construction because, as Polyvision concedes, the term would be clear to a person of ordinary

 skill in the art. If construction were required, however, the Court would adopt Smart’s construction

 using “performs or appears to perform more than one task at a time,” because Smart has

 demonstrated that in the context of computers, “multitasking” includes the “appearance” of

 performing several tasks at once, even though only one program is being executed. For example,

 Smart notes that Windows does not perform more than one task at a time but operates at such a

 speed that it appears to perform more than one task at a time. It also cites the definition of


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            According to Smart, PolyVision belatedly identified this and several other claim terms as requiring
 construction and, therefore, Smart did not have an opportunity to address these terms in its brief on claim construction.
 Smart asserts that these terms do not require construction but that if the Court concludes otherwise, they should be given
 their plain and ordinary meanings, which Smart has identified for the Court.

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 multitasking from http://www.webopedia.com/TERM/m/multitasking.html, which states that “[i]n

 multitasking, only one CPU is involved, but it switches from one program to another so quickly that

 it gives the appearance of executing all of the programs at the same time.”

                3.      “driver means in said computer for receiving said control signals and in
                        response generating a command to a selected one of said applications
                        programs for updating said screen video displays in accordance with
                        said applied pressure to said touch-sensitive display screen” (claims 1 and
                        4).

            PolyVision’s proposed construction         Smart’s proposed construction
            A software program that receives           A driver structure and/or steps in a
            and processes control signals and, in      computer that receives control
            response, generates a command to a         signals and, in response to the
            selected application program for           control signals, generates a
            updating the screen video display in       command to a selected application
            accordance with the pressure applied       program for updating the screen
            to the touch-sensitive display screen.     video display in accordance with the
                                                       pressure applied to the touch-
                                                       sensitive display screen, and
                                                       structural equivalents thereof.



        This is a means-plus-function limitation, requiring the Court to examine the specification for

 the structure for performing the specified function. Referring to Fig. 19, the specification states that

 “a memory resident device driver is loaded.” (Col. 11, ll. 50-51.) It further states, referring to Fig.

 9 and the installation and testing steps of the custom network structure, that “[o]n entry (700), the

 software driver for the custom network adaptor or controller (located in computer 5) is loaded

 (701).” (Col. 7, ll. 25-27.) Essentially, the specification calls for a driver, which, as used in the

 ordinary sense by one skilled in the art, is a program that controls a device. PolyVision’s

 construction, which identifies the driver means as software, is an accurate definition.




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                4.      “projector means connected to said one or more computers for receiving
                        and projecting said screen video displays onto said display screen” (claim
                        1)

            PolyVision’s proposed construction      Smart’s proposed construction


            An LCD projector panel projected        A projector that receives screen
            by an overhead projector.               video displays from one or more
                                                    computers and projects the screen
                                                    video displays onto a display screen,
                                                    and structural equivalents thereof.

        The term at issue is “projector means,” although it is unclear whether the parties disagree

 over the construction of this term. In the chart attached to its claim construction brief, PolyVision

 stated that the parties were in agreement regarding the construction of this limitation, although the

 parties’ Markman hearing materials addressed this claim term. There is no dispute that this is a

 means-plus-function limitation and that the specification must be consulted to determine the

 structure. The specification discloses that:

                An overhead projector 7 is oriented so as to project an image onto the surface
        of touch-sensitive screen 1. The image is generated by means of LCD projector panel
        9 which is connected to the graphics output of the personal computer 5.

 (Col. 3, ll. 40-44.) This configuration is shown in Fig. 1, with the LCD projector panel placed on

 top of the overhead projector. The specification also states that an integrated unit, with the LCD

 panel incorporated into the projector, would also be within the scope of the claim. (Col. 15, ll. 12-

 15.) Accordingly, this term is properly construed to mean a structure formed from an overhead

 projector and a separate LCD panel, an integrated overhead projector/LCD panel unit, and structural

 equivalents thereof.




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                 5.      “generating via said projector means a plurality of alignment images
                         onto said display screen at predetermined locations” (claims 1 and 4)

            PolyVision’s proposed definition        Smart’s proposed definition
            Generating and projecting alignment     The alignment images are generated
            images at a known point on the          and projected onto the display
            touch sensitive screen.                 screen at locations that are
                                                    predetermined relative to the image
                                                    being projected.

         The dispute here is whether the alignment images are projected on a predetermined location

 of the display screen, as PolyVision contends, or at locations that are predetermined relative to the

 image itself, as Smart asserts. PolyVision contends that the language of the claim and the

 specification, (Col. 8, ll., 28-29 (“The marker is projected at a known point on the touch-sensitive

 screen 1.”)), plainly shows that the alignment images are projected onto predetermined locations on

 the display screen. As Smart correctly notes, however, the purpose of the calibration routine is to

 determine the location of the projected image on the display screen, which may be unknown due to

 the random position of the projected image, through the sequence of alignment marks. The

 specification states:

         FIG. 12 represents the touch board alignment procedure which ensures that the image
         on the touch-sensitive screen 1 corresponds with the image appearing on the display
         of computer 5. The purpose of this alignment procedure is to determine the position
         of the projected image on the touch-sensitive screen and to determine the corrections
         required to compensate for image projection problems.

 (Col. 8, ll. 10-17.) Given the purpose of this procedure – to correct for image projection problems,

 it would make no sense for the alignment marks to be projected onto the display screen at

 predetermined points having no relationship to the image; there would be no need for the alignment

 procedure because the image would already be aligned with the display screen. Accordingly, the

 Court concludes that Smart’s construction is correct.


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                6.      “keystoning caused by planar misalignment between said projector
                        means and said display screen” (claims 1 and 4)

            PolyVision’s proposed construction        Smart’s proposed construction
            Image distortion that occurs when         Image distortion that occurs when
            the projection axis is not at a right     the projection axis deviates from a
            angle with the plane of the display       90E angle (i.e., is non-orthogonal)
            screen.                                   with the plane of the display screen.


        The parties’ constructions are essentially the same, with the exception that Smart’s

 construction uses the phrase “deviates from a 90 degree angle (i.e., is non-orthogonal),” while

 PolyVision uses the phrase “is not at a right angle.” Smart notes that its construction is proper

 because it uses a phrase found in the specification (“deviates from a 90E angle”) and that the

 mathematical term “non-orthogonal” accurately describes the condition of “keystoning.” PolyVision

 contends its construction is clearer and would be more easily understood by a lay jury. While

 PolyVision is correct that its construction is clearer, the Court will adopt Smart’s definition because

 it is consistent with the intrinsic evidence and other claim elements rely upon the term “non-

 orthogonal” to describe keystoning.

                7.      “means for storing said screen video displays” (claim 4)

            PolyVision’s proposed construction        Smart’s proposed construction
            A computer.                               Computer structure/steps that store
                                                      screen video displays, and structural
                                                      equivalents thereof.



        The parties agree that the structure for this means-plus-function limitation is a computer. The

 only dispute is whether the structure is a computer and structural equivalents thereof, or a “computer

 structure/steps.” The Court agrees with PolyVision that the claim term is properly defined solely as

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 a computer, and structural equivalents, because the patent discloses a computer as the means for

 performing the identified function, without mentioning “structure/steps.” (Col. 15, ll. 32-36.)

        B.       The ‘000 patent

        Based upon the parties’ submissions, it appears that no dispute remains regarding the claim

 terms at issue in the ‘000 patent. To the extent that there is any dispute regarding “projection

 means,” the Court will apply the same construction as “projector means” in the ‘263 patent.

        C.       The ‘681 patent

        The parties have agreed on constructions for the terms “calibration marks” (claims 17, 21,

 38, 41, 57, 58, 71, 72), “coupleable” (claims 17, 21, 38, 41), and apparently “uncoupled” (claims 17,

 21, 38, 41, 57, 58, 71, 72), at least as far as they both assert that this term means “not connected.”

 Thus, only two disputes remain.

                 1.      “Control apparatus for displaying a computer-generated image” (claims
                         17, 21, 38, 41)

             PolyVision’s proposed construction      Smart’s proposed construction
             A controller for displaying a           Asserts that plain and ordinary
             computer generated image.               meaning is: Hardware and/or
                                                     software for displaying a computer-
                                                     generated image.

        PolyVision argues that this phrase requires construction because the term “control apparatus”

 is not defined anywhere in the specification, although it is clear that claim 1 is directed to the

 controller 3 referenced throughout the specification (for example in Fig. 1). Smart contends that the

 language is clear and its plain and ordinary meaning must, under Federal Circuit law discussed

 above, include hardware and/or software for displaying the image. Although Smart contends that

 PolyVision’s construction improperly limits the claim to structure, when the controller must also



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 include software, the Court concludes that PolyVision’s construction correctly identifies the control

 apparatus as the “controller 3" without excluding the software for the controller from the scope of

 the claim.

                 2.      “large-screen display surface” (claims 17, 21, 38, 41, 57, 58, 71, 72)

         PolyVision contends that this term cannot be construed because it is not mentioned or defined

 in the specification, has no particular meaning in the art, and is indefinite. PolyVision points out that

 it is well-known in the art that display surfaces for a projector may range from a few inches in

 diagonal width to over twelve feet in diagonal width, and without further guidance from the claim,

 any attempt to give meaning to “large-screen” would be arbitrary and lacking any support in the

 specification. Smart contends that the term is not indefinite and should be given its plain and

 ordinary meaning: “A display surface that is sufficiently large to be viewable concurrently by one

 or more groups of users.”

         “Because [] claims perform the fundamental function of delineating the scope of the

 invention [pursuant to 35 U.S.C. § 112, ¶ 2], the purpose of the definiteness requirement is to ensure

 that the claims delineate the scope of the invention using language that adequately notifies the public

 of the patentee’s right to exclude.” Datamize, LLC v. Plumtree Software, Inc., 417 F.3d 1342, 1347

 (Fed. Cir. 2005) (internal citation omitted). A claim is not indefinite solely because construction

 proves to be a difficult task. See Exxon Research & Eng’g Co. v. United States, 265 F.3d 1371, 1375

 (Fed. Cir. 2001). Nor is a claim indefinite even though the construction is one over which

 reasonable persons can disagree. See id. “Because a claim is presumed valid, a claim is indefinite

 only if the ‘claim is insolubly ambiguous, and no narrowing construction can properly be adopted.’”

 Honeywell Int’l, Inc. v. Int’l Trade Comm’n, 341 F.3d 1332, 1338-39 (Fed. Cir. 2003) (quoting

 Exxon Research, 265 F.3d at 1375).

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         Although the Court believes that this is a close question, it concludes that a person skilled

 in the art would understand the term “large-screen display surface.” First, the specification provides

 some basis for giving context to the term “large screen.” First, it must be large enough so that

 “several user groups can view the projected screen output.” (Col. 4, ll. 42-44.) Second, Fig. 1 is a

 drawing of the interactive display system, and it shows the display screen as being much larger than

 the computer screen and the overhead projector, in fact, perhaps 4-6 times as large as those items.

 This information reveals that the term “large-screen display” is intended to encompass display

 screens that would be used to present information to large groups of people in a classroom or

 conference setting. It would exclude the scenario discussed at the hearing of several college students

 crowding around a small television. Finally, PolyVision’s expert, Dr. Robert S. Dezmelyk, indicated

 that he understood what “large-screen” meant. He said that it would be at the “larger end of the

 scale” for digitizers, meaning that it would be larger than a 24 by 36 inch digitizer. (Dezmelyk Dep.

 at 167.) Dr. Dezmelyk was also able to ascertain whether certain of PolyVision’s products had large-

 screen displays, and he stated that PolyVision’s IBID product line had small screens. (Id. at 262.)

 This provides a sufficient basis to allow this Court or a jury to determine whether the accused

 product is a “large-screen” device. See Aero Prods. Int’l, Inc. v. Intex Recreation Corp., 466 F.3d

 1000, 1016 (Fed. Cir. 2006) (citing the plaintiff’s expert’s testimony regarding his understanding of

 the disputed terms as support for the conclusion that the terms would be understandable to a person

 of ordinary skill in the art).

         D.      The ‘636 patent

         The parties have agreed upon constructions for the terms “coupled” (claims 1-5, 11, 14),

 “spaced from” (claims 4-9), “mapping” (claims 4-9), “without physically adjusting the projector or

 the display screen” and “without physically adjusting the display screen” (claims 4-9; 6-9). In

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 addition, the Court adopts the same construction for the phrases “in a multi-tasking environment”

 and “large-screen display surface” as set forth above. Several other terms or phrases remain in

 dispute.

                1.      “alignment structure, in said computer” (claim 1)

            PolyVision’s proposed construction       Smart’s proposed construction
            The combination of hardware and          Hardware and/or software within the
            software within the computer that        computer that provides for
            provides for alignment.                  alignment.

        PolyVision contends that the term “alignment structure” is properly construed to mean both

 the hardware and the software in the computer that performs the alignment function on the touch-

 sensitive display screen. Smart contends that no construction is required because it contends, as it

 did above regarding the phrase “means for receiving said control signals and in response generating

 and projecting graphic images onto said touch sensitive display screen at said locations” in the ‘263

 patent, that Federal Circuit case law holds that computer structure includes the software that is

 necessary to perform the claimed function. Although the Court rejected Smart’s argument above,

 it notes that the instant claim language supports the conclusion that it includes not only the hardware

 but also the software for performing the alignment function. Finding little or no difference between

 the parties’ proposed constructions, the Court concludes that PolyVision’s construction comports

 with the claim language, and the Court will adopt that construction.

                2.      “Windows™ operating system environment”; “Windows™ software on
                        the computer” (claims 8, 14-19)

        The issue raised by PolyVision regarding this term is whether, because the inventor used the

 Windows trademark in these claims, this limitation is indefinite and not capable of construction or,

 alternatively, should be construed as “Microsoft Windows Version 3.0” because that is the operating


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 system disclosed in the specification and because it was the only product at the time of filing that

 could have been used in the invention disclosed in the ‘636 patent. (Col. 11, ll. 20-25, 35-40; Col.

 13, ll. 44-58.)

          To be valid, claims must comply with the definiteness requirement of § 112, ¶ 2, which

 “focuses on whether the claims, as interpreted in view of the written description, adequately perform

 their function of notifying the public of the patentee’s right to exclude.” Solomon v. Kimberly-Clark

 Corp., 216 F.3d 1372, 1379 (Fed. Cir. 2000). A claim will be considered indefinite if it does not

 reasonably apprise those skilled in the art of its scope. See IPXL Holdings, L.L.C. v. Amazon.com,

 Inc., 430 F.3d 1377, 1383-84 (Fed. Cir. 2005). Because a trademark identifies the source of a

 product rather than a product itself, see Tumblebus, Inc. v. Cranmer, 399 F.3d 754, 762 n.10 (6th Cir.

 2005), the use of a trademark in a patent may render a claim indefinite. The Manual of Patent

 Examining Procedure (“MPEP”) addresses this issue:

                  The presence of a trademark or trade name in a claim is not, per se, improper
          under 35 U.S.C. § 112, second paragraph, but the claim should be carefully analyzed
          to determine how the mark or name is used in the claim. . . .

                  If the trademark or trade name is used in a claim as a limitation to identify or
          describe a particular material or product, the claim scope does not comply with the
          requirements of the 35 U.S.C. 112, second paragraph. Ex parte Simpson, 218 USPQ
          1020 (Bd. App. 1982). The claim scope is uncertain since the trademark or trade
          name cannot be used properly to identify any particular material or product. In fact,
          the value of a trademark would be lost to the extent that it became descriptive of a
          product, rather than used as an identification of a source or origin of a product. Thus,
          the use of a trademark or trade name in a claim to identify or describe a material or
          product would not only render a claim indefinite, but would also constitute an
          improper use of the trademark or trade name.

 MPEP § 2173.05(u) (2001).5

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            Although the MPEP does not have the force of law, it “is well known to those registered to practice in the PTO
 and reflects the presumptions under which the PTO operates.” Critikon, Inc. v. Becton Dickinson Vascular Access, Inc.,
 120 F.3d 1253, 1257 (Fed. Cir. 1997). As such, the Court will rely on the MPEP to provide the proper framework for
 dealing with Smart’s use of a trademark in its patent.

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        The United States Patent and Trademark Office Board of Appeals and Interferences has

 sustained examiners’ rejections in several instances upon grounds that inclusion of a trademark

 rendered the claim indefinite. For example, in Ex parte Simpson, 1982 WL 52193, 218 U.S.P.Q.

 1020 (Bd. Pat. App. & Interf. 1982), the matter cited above in the quoted section of the MPEP, the

 Board rejected the appellants’ argument that the use of the trademark “Hypalon” was permissible

 because the mark was well known and satisfactorily defined in the literature discussing the product,

 an elastometric chlorosulphonated polythene, or synthetic resin. The Board rejected the argument,

 noting that the reference to the mark was uncertain in scope because it disclosed nothing about how

 much chlorosulphonated polythene must be present in the material used in the claimed combination

 before infringement occurred:

        On the one hand, the claim language may be very narrowly construed to a particular
        chlorosulphonated ethylene having a specific group of additives employed by the
        owner of the “Hypalon” trademark to produce the desired properties, or on the other
        hand the claim language might be asserted by appellants . . . to broadly encompass
        every synthetic resin.

 Id. at 1021-22. The Board concluded that the appellant’s manner of use of the trademark as merely

 descriptive of the product not only failed to comply § 112, ¶ 2 by staking out the boundaries of the

 claim, but was also an improper use of the “Hypalon” trademark. Id. at 1022 & 1022 n.2. See also

 Ex Parte Schwartz, 1998 WL 1708024, at *5 (Bd. Pat. App. & Interf. 1998) (affirming the

 examiner’s rejection of the claim for indefiniteness because it was not clear “exactly what

 composition of gelatinous elastomer is encompassed by ‘a synthetic polymer gel of the type used in

 the Kitecko Ultrasound Standoff Pad manufactured by 3M Corporation of St. Paul Minnesota’”).

        Smart contends that its use of “Windows™” in the claims at issue was not improper because

 it used the trademark not as a noun to assert a limitation, but rather as an adjective to modify the

 nouns “operating system environment” and “software.” Smart asserts that its use of “Windows™”

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 in this manner served to distinguish the Windows family of operating systems from other such

 families, such as MacOS, Sun version Unix, SCO Unix, and HP-UX. The Court rejects this

 argument because it cannot discern any material difference between using a mark to identify products

 and using a mark to distinguish Microsoft Windows from other families of operating systems. The

 fact remains that the claim may still be indefinite because it does not refer to any specific product

 in the ever-expanding family of Microsoft products. Moreover, Ex parte Kitten, 1999 WL 33134953

 (Bd. Pat. App. & Interf. 1999), does not support Smart’s claim that its use of the “Windows™”

 trademark is proper. In Kitten, the Board noted that although the claim used trademarks to identify

 the three proprietary products used to produce the subject fertilizer, the appellant filed product sheets

 in support of the application which identified the makeup and uses of the products. The Board

 observed: “Based on these product sheets and because claim 13 further limits the fertilizer used in

 claim 1 to a fertilizer prepared from these well-identified proprietary products, we do not find the

 use of the trademarks renders claim 13 unclear or confusing.” Id. at *2.

         In spite of the Court’s inclination to conclude that the use of the claims’ reference to

 “Windows™” renders the claims indefinite, the Court concludes that it is proper to construe the

 claims as being limited to “Microsoft Windows Version 3.0" as set forth in the specification, in light

 of the Federal Circuit’s admonition that “claims are generally construed so as to sustain their

 validity, if possible.” Whittaker Corp., by its Technibilt Div. v. UNR Indus., Inc., 911 F.2d 709, 712

 (Fed. Cir. 1990). It is undisputed that the Microsoft Windows Version 3.0 operating system was the

 only Windows™ software disclosed in the ‘636 patent and was the most recently available

 Windows™ operating system at the time of filing. “The literal scope of the term is limited to what

 it was understood to mean at the time of filing.” Kopykake Enters. v. Lucks Co., 264 F.3d 1377,

 1383 (Fed. Cir. 2001). According to PolyVision’s expert, Robert Dezmelyk, Windows 3.0 and

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 Windows 3.1 relied on the earlier Microsoft disk operating system, or “MS-DOS,” for much of their

 internal operations. (Dezmelyk Decl. ¶ 4, PolyVision Br. Supp. 3d Mot. Summ. J. Ex. C.) In these

 systems, Windows was simply a graphical interface that ran on the DOS operating system, and

 applications programs would run on DOS within the graphical interface of Windows 3.0 or 3.1. (Id.)

 Dezmelyk further states that beginning with Windows 95, Microsoft eliminated the DOS

 requirement for its Windows platform, making Windows a true operating system that is not a mere

 g r a p h i ca l    user        i n t er f a c e   shell   for     DOS.        (Id.    ¶   5.)     See    also

 http://www.webopedia.com/TERM/D/DOS.html (noting that later versions of Windows helped to

 alleviate          some    of      the      DOS     limitations     for   modern      computer   applications);

 http://en.wikipedia.org/wiki/History_of_Microsoft_Windows (describing features of Windows 95).

 Because “Windows™” includes a number of programs that were not known or released until after

 Smart filed its patent application and that do not significantly rely upon DOS, Smart may not claim

 the benefit of those programs, which could not have been known to the inventor or to persons of

 ordinary skill in the art at the time of the invention in the ‘636 patent. See Schering Corp. v. Amgen

 Inc., 222 F.3d 1347, 1353 (Fed. Cir. 2000) (holding that the term “leukocyte interferon” was limited

 to the understanding of those in the scientific community at the time the application was filed that

 it meant an interferon polypeptide that originates from leukocytes and not subsequently discovered

 subtypes of leukocyte interferon). Accordingly, the Court will limit the term “Windows™” to

 include Windows 3.0 and Windows 3.1, as well as prior versions of Windows.

                      3.         “sequentially display four calibration marks” (claims 13, 17-19)

               PolyVision’s proposed construction                 Smart’s proposed construction
               Four calibration marks are displayed               Four calibration marks are displayed
               individually in four separate                      in four separate successive images.
               successive images.



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        PolyVision contends that this claim limitation is ambiguous and requires construction

 because it can be construed in one of two ways: (1) that four calibration marks are displayed in

 sequence any number of times; and (2) that an individual calibration mark is displayed four times

 in sequence. Smart contends that the term is unambiguous and should be given its plain meaning,

 although it offers a construction that essentially permits either meaning.

        The Court agrees with PolyVision that the term is ambiguous and requires construction. The

 specification and drawings support PolyVision’s construction. Figs. 12 and 13a-13d illustrate that

 four individual calibration screens with alignment images are presented in sequence. The written

 description confirms this as well, describing a “first alignment image” or “calibration screen,” a

 “second calibration screen,” a “third calibration screen,” and finally a “fourth calibration screen.”

 (Col. 8, ll. 17-18, 45-47, 62-64; Col. 9, ll. 11-13.) Smart argues that this construction improperly

 imports limitations from the specification into the claim language. However, the Court disagrees.

 As noted above, Phillips not only authorizes, but requires courts to resort to the written description

 in order to resolve claim construction issues. The Court believes that construing the claim language

 as PolyVision suggests constitutes a permissible use of the intrinsic record and not an improper

 limitation of the claim language.

                4.      “non-orthogonal misalignment between said projector and said touch-
                        sensitive display screen” (claims 1-3, 10); “non-orthogonal misalignment
                        between the projected image and the display screen” (claims 4-5)

            PolyVision’s proposed construction          Smart’s proposed construction
            Misalignment between the projector          Misalignment wherein the
            and the touch-sensitive display             projection axis deviates from a 90E
            screen that occurs when the                 angle (i.e., is non-orthogonal)
            projection axis is not at a right angle     relative to the plane (i.e., surface) of
            with the surface of the display             the touch-sensitive display screen.
            screen.




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        The parties have presented similar definitions which are materially indistinguishable, at least

 to this Court. Because the Court has adopted Smart’s construction of similar claim language above,

 it will also adopt Smart’s construction regarding these claim terms.

                5.      “a plurality of calibration images including a calibration marker”
                        (claims 6-9); “a plurality of alignment images including an alignment
                        marker” (claims 11-13); “a plurality of calibration marks” (claims 14-16)

            PolyVision’s proposed construction         Smart’s proposed construction
            More than one individual mark or           Indicia serving to indicate the
            target serving as touch points for the     positions to be used in calibrating
            calibration process.                       the large-screen display surface, at
                                                       least one of said indicia being a
                                                       visible marker.

        PolyVision argues that the term plurality should be given its ordinary meaning, as “more than

 one,” as set forth in its proposed construction. Smart contends its construction will avoid limiting

 the claim to the specific embodiments set forth in the specification. However, as set forth above, the

 Court believes that resort to the specification is permissible and necessary in order to properly

 construe the claim language. In addition, as PolyVision correctly notes, Smart’s proposed

 construction, which includes the phrase “at least one of said indicia being a visible marker,” is at

 odds with the requirement of “a plurality.” The Court will thus accept PolyVision’s construction.

                6.      “compensate for projected image/display surface non-orthogonal
                        misalignment” (claims 6-9)

            PolyVision’s proposed construction         Smart’s proposed construction
            Correct trapezoidal image distortion       Image distortion wherein an image
            that occurs when the projection axis       is projected along an axis that is not
            is not a right angle with the plane of     orthogonal with the display surface.
            the display screen.

        The parties’ constructions regarding this claim limitation do not differ significantly. The

 Court notes, however, that PolyVision’s inclusion of the word “trapezoidal” is based upon claim 9,


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 which includes that term, while claim 6 does not. In line with its treatment of the claim language

 including the phrase “non-orthogonal misalignment” set forth above, the Court will adopt Smart’s

 construction, which does not include “trapezoidal.”

                7.      “project via said projector a plurality of alignment instructions onto said
                        touch-sensitive display screen at predetermined locations” (claim 10)

            PolyVision’s proposed construction       Smart’s proposed construction
            More than one alignment                  The alignment instructions are
            instructions is projected at a known     projected on the touch sensitive
            point on the touch sensitive screen.     display screen at locations that are
                                                     predetermined relative to the images
                                                     being projected.

        In accordance with its construction of the similar phrase “generating via said projector means

 a plurality of alignment images onto said display screen at predetermined locations” in the ‘263

 patent, and in accordance with its construction of the claims including the term “a plurality,” as set

 forth above, the Court will construe this phrase as “more than one alignment instruction are projected

 on the touch sensitive display screen at locations that are predetermined relative to the images being

 projected.”

                8.      “a calibration image having a calibration marker inside the edges of the
                        computer-generated image” (claims 17-19)

            PolyVision’s proposed construction       Smart’s proposed construction
            No construction required.                Images including indicators of
                                                     position inside the edges of the
                                                     computer-generated image that are
                                                     used in calibrating the interactive
                                                     display.

        In light of its prior constructions pertaining to “calibration image” and “calibration marker,”

 the Court agrees with PolyVision that no construction is required.



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               9.      “correct for keystoning distortions of the computer-generated image”
                       (claims 17-19)

           PolyVision’s proposed construction       Smart’s proposed construction


           Correct image distortion that occurs     Correct for image distortion due to
           when the projection axis is not at       the computer-generated image not
           right angle with the plane of the        being projected orthogonally to the
           display screen.                          plane of the interactive display.

        Consistent with other similar claim terms pertaining to correction of “keystoning” or non-

 orthogonal projection of the computer-generated image, the Court will adopt Smart’s construction.




 Dated: June 1, 2007                                         /s/ Gordon J. Quist
                                                            GORDON J. QUIST
                                                       UNITED STATES DISTRICT JUDGE




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